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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

            Plaintiff,
 v.
                                                        CRIMINAL No. 13-731 (DRD)
[2] JUAN ANTONIO ROSARIO CINTRÓN,

            Defendant.



                              REPORT AND RECOMMENDATION

      I.      PROCEDURAL BACKGROUND

           On September 30, 2013, the United States of America (“the government”) filed a

criminal complaint against Juan A. Rosario Cintrón (“defendant”), charging him with being a

fugitive in possession of a firearm, possessing a machine gun, and possessing a firearm with an

obliterated serial number in violation of 18 U.S.C. §§ 922 (g)(2), (o), and (k), respectively. ECF

No. 1. The government’s complaint alleged these violations occurred on or about September 28,

2013, in Loíza, Puerto Rico. Id. On October 9, 2013, a federal grand jury returned a two count

indictment against the defendant, charging him with possessing a machine gun and possessing a

firearm with an obliterated serial number on or about September 28, 2013, in violation of 18

U.S.C. §§ 922 (o) and (k), respectively. ECF No. 13.

           On August 28, 2014, while the federal charges in the case at bar were still pending, the

Commonwealth of Puerto Rico charged defendant with unlawful possession of a firearm with an

obliterated serial number and unlawful possession of an automatic weapon under articles 5.10

and 5.07 of Law 404, respectively. ECF No. 139 at pg. 4 ¶ 10 and ECF No. 152 at pg. 4 ¶ 1.

According to the defendant, the alleged conduct that prompted the filing of these charges is the
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same alluded to in the federal indictment. 1 The defendant has not produced certified translations

of the charging documents at the state level in order to place the court in an adequate position to

evaluate whether the essence of the machine gun and obliterated serial number charges was the

same at the federal and state level. Nonetheless, for purposes of this report, the court will take as

a given the defendant’s contention, namely that indeed they are the same.

        A Municipal Judge of Puerto Rico found probable cause to arrest. The Puerto Rico court

subsequently held a preliminary hearing under Rule 23 of the Puerto Rico Rules of Criminal

Procedure (34 L.P.R.A. Ap. II R. 23) (“Rule 23”) to determine if there is probable cause for trial.

The court found no probable cause. The Commonwealth then submitted the case again before a

different judicial officer of a higher rank at the Court of First Instance in a new preliminary

hearing. Again, no probable cause was found. The second finding of no probable cause

terminated the Puerto Rico case against the defendant. After the conclusion of the state case,

defendant filed a motion to dismiss his federal case (ECF. No. 139), which is the matter pending

before the court.

         DISCUSSION

        In his motion to dismiss, defendant contends that the conclusion of proceedings in state

court bar any further federal proceedings regarding the defendant’s conduct on September 28,

2013. The Fifth Amendment’s Double Jeopardy Clause mandates that no person “shall . . . be

subject for the same offence to be twice put in jeopardy of life or limb.” U.S. Const. Amend. V.

In general, the clause protects a defendant from multiple prosecutions for the same offense.

Notwithstanding this protection, “a single act gives rise to distinct offenses—and thus may



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  The Commonwealth also charged defendant with four other violations which do not concern this case. ECF No.
147 at ¶ 37. The court largely relies on the defendant’s motion to dismiss (ECF No. 168) for the state procedural
history. The court assumes arguendo, only for purposes of addressing the pending motion to dismiss, that
defendant’s proffered state procedural history is accurate.
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subject a person to successive prosecutions—if it violates the laws of separate sovereigns.”

Puerto Rico v. Sánchez Valle, 136 S. Ct. 1863, 1867 (2016).

       A. Whether the United States and Puerto Rico Constitute “Separate Sovereigns”
          under the Double Jeopardy clause

       The United States Supreme Court recently held that the United States and Puerto Rico

constitute the same sovereign for purposes of the Double Jeopardy clause. Id. at 1876. The

court’s test for separate sovereigns did not focus on the usual aspects of sovereignty, but rather

examined whether two governments’ powers to prosecute flow from the same ultimate source.

Id. at 1870-71. Although Puerto Rico’s power to prosecute flows from its Constitution, that

Constitution was authorized and approved by the United States Congress. Accordingly, the

Supreme Court held that the United States and Puerto Rico may not twice put a defendant in

jeopardy for the same offense. Id. at 1876-77.

       In his motion to dismiss, defendant argues that the second Puerto Rico finding of no

probable cause is the functional equivalent of an acquittal, therefore subsequent federal

prosecutions for the same conduct place him in double jeopardy. ECF No. 139 at pg. 16 ¶ 39. In

their opposition to the defendant’s motion, the government argues there is no bar to subsequent

prosecution because “jeopardy never attached to the Rule 23 hearings.” ECF No. 152 at pg. 1 ¶

2.

       B. Whether the Defendant was Placed in Jeopardy

       Typically, double jeopardy analysis splinters into three questions: “(1) whether jeopardy

ever attached; (2) whether the first proceeding was a decision on the merits; and (3) whether the

subsequent proceeding involves the “same offense.’” United States v. Szpyt, 785 F.3d 31, 36 (1st

Cir. 2015). If the answer to each of these questions is “yes,” the Double Jeopardy Clause bars

any subsequent prosecutions.


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        The government correctly argues that the analysis in this case begins and ends with the

first question—whether jeopardy ever attached, or, in other words, whether the defendant was

placed in jeopardy. An accused must first “suffer jeopardy before he can suffer double jeopardy.”

Serfass v. United States, 420 U.S. 377, 393 (1975). The principal question in this case is whether

the defendant’s Rule 23 preliminary hearings placed him in jeopardy under the Double Jeopardy

Clause of the Fifth Amendment.

        Rule 23 of the Puerto Rico Rules of Criminal Procedure provides that a magistrate shall

hear evidence to determine if there is probable cause that the accused committed a crime. 34

L.P.R.A. Ap. II R. 23. If the magistrate finds probable cause, the magistrate holds the defendant

to answer for the crime in the Court of First Instance. Id. At no point in the Rule 23 hearing does

the magistrate have jurisdiction to find the defendant guilty. Id. If the magistrate finds there is no

probable cause, the government may seek a further probable cause hearing. A judge’s decision as

to probable cause in the second hearing is final. Pueblo v. Cruz Justiniano, No. O-83-838, 1984

WL 270870 (P.R. Dec. 20, 1984).

        Defendant contends that jeopardy attached after the second Rule 23 hearing because a

second finding of no probable cause is the functional equivalent of an acquittal, effectively

barring further Commonwealth prosecution. 2 This statutory bar against any further preliminary

hearings, however, does not implicate the Double Jeopardy Clause.

        The United States Supreme Court has adhered to the rule that “jeopardy does not attach,

and the constitutional prohibition can have no application, until a defendant is ‘put to trial before


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  Defendant also points out a recent decision in the United States District Court for the District of Puerto Rico in
which United States District Judge Gustavo Gelpí held that a final Commonwealth judgment suppressing
identification evidence bars its use in subsequent federal prosecutions based on the same underlying facts. United
States v. Colón, 2016 WL 5793727, at 1 (D.P.R. Oct. 4, 2016). Although this report expresses no opinion on the
foregoing decision, the same is distinguishable from the instant case. Although Colón makes some reference to
double jeopardy, that opinion is best understood as a decision on issue preclusion; not whether jeopardy had
attached in pretrial proceedings.

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the trier of facts, whether the trier be a jury or a judge.” Serfass v. United States, 420 U.S. 377,

388 (1975). In a jury trial, jeopardy attaches when the jury is empaneled and sworn. Id. In a

nonjury trial, jeopardy attaches when the court begins hearing evidence. Id. Notwithstanding this

rule, defendant contends that nothing in the jurisprudence prevents jeopardy from attaching

earlier.

           In Serfass v. United States, the Supreme Court considered whether jeopardy could attach

prior to trial. There, petitioner had filed a motion to dismiss his indictment prior to the beginning

of jury trial. After the district court granted petitioner’s motion to dismiss, the government

appealed. The petitioner responded that the Double Jeopardy Clause barred further prosecution

because—similar to defendant’s argument in the instant case—dismissal of the indictment was

the functional equivalent of an acquittal on the merits. Id. at 390.

           The Supreme Court rejected petitioner’s argument, holding that petitioner had not been

placed in jeopardy under the meaning of the Fifth Amendment because he had not been placed

before a trier of fact capable of deciding guilt or innocence. In deciding a motion to dismiss at

the pretrial level, a judge has not the authority to adjudicate guilt. The Supreme Court explained

that the prohibition against double jeopardy “was designed to protect against the hazard of trial

and possible conviction more than once for an alleged offense,” and “without the risk of

determination of guilt, jeopardy does not attach, and neither an appeal nor further prosecution

constitutes double jeopardy.” Id. at 391–92 (internal citations and quotations omitted).

           Whether or not defendant’s Rule 23 proceedings were the functional equivalent of an

acquittal on the merits is beside the point. As the Supreme Court explained in Serfass, the word

“acquittal” has no talismanic quality for the purposes of the Double Jeopardy Clause. Id at 92.

“In particular, it has no significance in this context unless jeopardy has attached and an accused

has been subject to the risk of conviction.” Id.

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         Thus, a preliminary hearing at which there is no possibility of an adjudication of the

defendant’s guilt cannot trigger jeopardy. In this case, as in Serfass, the defendant has not been

placed before a trier of fact having jurisdiction to try the question of guilt or innocence. In his

brief, defendant concedes that at no point in a Rule 23 hearing can the judge adjudicate guilt.

ECF No. 139 at pg. 15 ¶ 38. The Supreme Court of Puerto Rico stated that the Rule 23 hearing

“is geared to protect the defendant by a judicial screen through which the State must present

evidence and prove whether or not it is justified to intervene with a citizen’s freedom and subject

him to the strictness and contingencies of a full trial . . . ” Pueblo v. Rodríguez Aponte, No. O-

84-833, 1985 WL 301898 (P.R. Nov. 14, 1985). The hearing is not a “mini-trial.” Id.

Accordingly, the defendant cannot be said to have been placed in jeopardy under the meaning of

the Double Jeopardy Clause. Without first suffering jeopardy, the defendant cannot suffer double

jeopardy.

   II.      CONCLUSION

         For the foregoing reasons, it is hereby recommended that the pending motion to dismiss

the indictment and acquit the defendant (ECF No. 139) be DENIED. The parties have fourteen

(14) days to file any objections to this report and recommendation. Failure to object within the

specified time waives the right to appeal this report and recommendation. Fed. R. Civ. P.

72(b)(2); Fed. R. Civ. P. 6(c)(1)(B); D.P.R. Civ. R. 72(d); see also 28 U.S.C. § 636(b)(1); Henley

Drilling Co. v. McGee, 36 F.3d 143, 150–51 (1st Cir. 1994); United States v. Valencia, 792 F.2d

4 (1st Cir. 1986).

         IT IS SO RECOMMENDED.

         In San Juan, Puerto Rico, this 7th day of November, 2016.

                                                            s/Marcos E. López
                                                            U.S. Magistrate Judge


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